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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

                                            §
LIFENET, INC.,                              §
                                            §
         Plaintiff,                         §
                                            §
v.                                          §      Case No. 6:22-cv-162-JDK
                                            §
UNITED STATES DEPARTMENT OF                 §
HEALTH AND HUMAN SERVICES,                  §
et al.,                                     §
                                            §
         Defendants.                        §
                                            §

                                        ORDER
          Before the Court is the parties’ joint Stipulation to Waive the Defendants’

 Obligation to Respond to the Complaint. Docket No. 38. Having fully considered

 the stipulation, and finding good cause therefor, the Court GRANTS the motion,

 and it is hereby ORDERED that the Defendants are not obligated to file an answer

 to the Complaint.

            So ORDERED and SIGNED this 5th day of July, 2022.



                                                ___________________________________
                                                JEREMY D. KERNODLE
                                                UNITED STATES DISTRICT JUDGE
